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 1   TRACY L. WILKISON
     United States Attorney
 2   SCOTT M. GARRINGER
     Assistant United States Attorney
 3   Chief, Criminal Division
     JERRY C. YANG
 4   Assistant United States Attorney
     Chief, Riverside Branch Office
 5   SEAN D. PETERSON (Cal. Bar No. 274263)
     Assistant United States Attorneys
 6   Riverside Branch Office
          3403 10th Street, Suite 200
 7        Riverside, California 92501
          Telephone: (951) 276-6930
 8        Facsimile: (951) 276-6202
          E-mail:    Sean.Peterson2@usdoj.gov
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     Attorneys for Plaintiff
10   UNITED STATES OF AMERICA

11                          UNITED STATES DISTRICT COURT

12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,               ED CR No. 21-174-JWH

14             Plaintiff,                    ORDER CONTINUING TRIAL DATE AND
                                             FINDINGS REGARDING EXCLUDABLE TIME
15                  v.                       PERIODS PURSUANT TO SPEEDY TRIAL
                                             ACT
16   RICHARD ALLEN KERR,
                                             [PROPOSED] TRIAL DATE: [09-26-22]
17             Defendant.
                                             [PROPOSED] STATUS CONFERENCE DATE:
18                                           [09-02-22]
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 1        The Court has read and considered the Stipulation Regarding

 2   Request for (1) Continuance of Trial Date and (2) Findings of

 3   Excludable Time Periods Pursuant to Speedy Trial Act, filed by the

 4   parties in this matter on February 1, 2022.        The Court hereby finds

 5   that the Stipulation, which this Court incorporates by reference into

 6   this Order, demonstrates facts that support a continuance of the

 7   trial date in this matter, and provides good cause for a finding of

 8   excludable time pursuant to the Speedy Trial Act, 18 U.S.C. § 3161.

 9        The Court further finds that:       (i) the ends of justice served by

10   the continuance outweigh the best interest of the public and

11   defendant in a speedy trial; (ii) failure to grant the continuance

12   would be likely to make a continuation of the proceeding impossible,

13   or result in a miscarriage of justice; and (iii) failure to grant the

14   continuance would unreasonably deny defendant continuity of counsel

15   and would deny defense counsel the reasonable time necessary for

16   effective preparation, taking into account the exercise of due

17   diligence.

18        THEREFORE, FOR GOOD CAUSE SHOWN:

19        1.      The trial in this matter is continued from February 28,

20   2022, to September 26, 2022.      The status conference hearing is

21   continued to September 2, 2022.

22        2.      The time period of February 28, 2022, to September 26,

23   2022, inclusive, is excluded in computing the time within which the

24   trial must commence, pursuant to 18 U.S.C. §§ 3161(h)(7)(A),

25   (h)(7)(B)(i), and (B)(iv).

26        3.      Defendant shall appear in Courtroom 2 of the Federal

27   Courthouse, 3470 Twelfth Street, Riverside, California, 92501 on

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 1   September 2, 2022, at 2:00 p.m. and on September 26, 2022, at

 2   9:00 a.m.

 3        4.     Nothing in this Order shall preclude a finding that other

 4   provisions of the Speedy Trial Act dictate that additional time

 5   periods are excluded from the period within which trial must

 6   commence.   Moreover, the same provisions and/or other provisions of

 7   the Speedy Trial Act may in the future authorize the exclusion of

 8   additional time periods from the period within which trial must

 9   commence.

10        IT IS SO ORDERED.

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12    February 2, 2022
      DATE                                    HONORABLE JOHN W. HOLCOMB
13                                            UNITED STATES DISTRICT JUDGE
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15   Presented by:
16

17       /s/
     SEAN D. PETERSON
18   Assistant United States Attorney
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